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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                                10/16/2020
MICHELLE ROSADO,

                              Plaintiff,
                                                                          7:17-CV-360 (NSR)
       -against-
                                                                                ORDER
LEE COUNTY STATE ATTORNEY, et al.,

                              Defendants.


NELSON S. ROMÁN, United States District Judge


       Plaintiff Michelle Rosado (“Plaintiff” or “Rosado”) commenced this action in January 2017 asserting

multiple 42 USC §1983 claims against various governmental officials. (ECF No. 2.) By Opinion and Order (the

“Order”), dated March 27, 2019, the Court dismissed all of Plaintiff’s claims except those claims asserted under

the Fourth Amendment for false imprisonment. (ECF No. 100.) In the Order, the Court directed the remaining

defendants to file an answer, and directed the parties to confer and submit a case management plan. Id. By letter

dated October 1, 2020, counsel for defendant Robert Foley informs the Court that Plaintiff has failed to timely

comply with discovery requests. (ECF No. 123.) Specifically, Plaintiff has failed to provide Rule 26(a)(1) initial

disclosures and respond to interrogatories and document requests. Id. Despite repeated requests from counsel,

Plaintiff has failed provide the requested discovery for more than one year. Accordingly, Plaintiff is directed to

provide all outstanding discovery by November 6, 2020 and is warned that failure to do so may result in either

preclusion of evidence or dismissal of her remaining claims.

       The Court has also reviewed letters from counsel for defendant Robert Foley requesting a pre-motion

discovery conference (ECF No. 112) and an extension of time to complete discovery (ECF No. 114). In light of

the fact that the deadlines in the original case management plan (ECF No. 109-1) have passed, the Court further

directs the parties to confer and jointly submit an updated case management plan (blank form attached hereto)

to the Court by October 30, 2020.




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         The Clerk of the Court is respectfully directed to terminate the motions at ECF No. 112, 114, and 123,

to serve a copy of this Order upon the Plaintiff at her last known residence and to show proof on the docket.

Dated:    October 16, 2020                            SO ORDERED:
          White Plains, New York

                                                      ________________________________
                                                      NELSON S. ROMÁN
                                                      United States District Judge




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UNITED STATES DISTRICT COURT                                                   Rev. Jan. 2012
SOUTHERN DISTRICT OF NEW YORK
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                                                                  CIVIL CASE DISCOVERY PLAN
                                            Plaintiff(s),         AND SCHEDULING ORDER
                 - against -


                                              Defendant(s).             CV                      (NSR)
-------------------------------------------------------------x

       This Civil Case Discovery Plan and Scheduling Order is adopted, after consultation with
counsel, pursuant to Fed. R. Civ. P. 16 and 26(f):

        1.       All parties [consent] [do not consent] to conducting all further proceedings before
                 a Magistrate Judge, including motions and trial, pursuant to 28 U.S.C. § 636(c).
                 The parties are free to withhold consent without adverse substantive consequences.
                 (If all parties consent, the remaining paragraphs of this form need not be
                 completed.)

        2.       This case [is] [is not] to be tried to a jury.

        3.       Joinder of additional parties must be accomplished by
                 _______________________.

        4.       Amended pleadings may be filed until _____________________.

        5.       Interrogatories shall be served no later than ___________________, and responses
                 thereto shall be served within thirty (30) days thereafter. The provisions of Local
                 Civil Rule 33.3 [shall] [shall not] apply to this case.

        6.       First request for production of documents, if any, shall be served no later than
                 ____________________.

        7.       Non-expert depositions shall be completed by ____________________________.

                 a.       Unless counsel agree otherwise or the Court so orders, depositions shall not
                          be held until all parties have responded to any first requests for production
                          of documents.

                 b.       Depositions shall proceed concurrently.

                 c.       Whenever possible, unless counsel agree otherwise or the Court so orders,
                          non-party depositions shall follow party depositions.
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      8.       Any further interrogatories, including expert interrogatories, shall be served no
               later than _______________________.

      9.       Requests to Admit, if any, shall be served no later than
               ______________________.

      10.      Expert reports shall be served no later than ______________________.

      11.      Rebuttal expert reports shall be served no later than ______________________.

      12.      Expert depositions shall be completed by ______________________.

      13.      Additional provisions agreed upon by counsel are attached hereto and made a part
               hereof.

      14.      ALL DISCOVERY SHALL BE COMPLETED BY ______________________.

      15.      Any motions shall be filed in accordance with the Court’s Individual Practices.

      16.      This Civil Case Discovery Plan and Scheduling Order may not be changed without
               leave of Court (or the assigned Magistrate Judge acting under a specific order of
               reference).

      17.      The Magistrate Judge assigned to this case is the Hon.                                   .

      18.      If, after entry of this Order, the parties consent to trial before a Magistrate Judge,
               the Magistrate Judge will schedule a date certain for trial and will, if necessary,
               amend this Order consistent therewith.

      19.      The next case management conference is scheduled for _____________________,
               at ____________. (The Court will set this date at the initial conference.)



      SO ORDERED.

Dated: White Plains, New York
       _______________________


                                                              Nelson S. Román, U.S. District Judge
